916 F.2d 710Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis Dawayne PELHAM, Petitioner-Appellant,v.COMMONWEALTH OF VIRGINIA, Edward W. Murray, Respondents-Appellees.
    No. 90-7329.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 23, 1990.Decided Oct. 24, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T.S. Ellis, III, District Judge.  (CA-90-294AM)
      Curtis DaWayne Pelham, appellant pro se.
      E.D.Va.
      DISMISSED.
      Before PHILLIPS, WILKINSON and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Curtis DaWayne Pelham seeks to appeal the district court's order refusing relief under 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Pelham v. Virginia, CA-90-294-AM (E.D.Va. Apr. 12, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    